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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

   BARRY MAY,
         Plaintiff,
   v.                                              CASE NO.: 8:12-cv-1492-T-23AEP
   CITY OF TAMPA,
         Defendant.
   ____________________________________/

                                          ORDER

         Contrary to the disciplinary rules of the City of Tampa, Barry May reported to

   work under the influence of alcohol. After the pre-disciplinary hearing prescribed by

   the City’s rules, the City terminated May. The City’s Civil Service Board upheld

   May’s termination after an “appeal hearing,” prescribed also by the City’s rules, that

   included a trial de novo at which the City bore the burden of proving the validity of

   May’s termination. Forbearing direct review, available in a Florida circuit court, of

   the Civil Service Board’s determination, May sued the City in a new state-court

   action and asserted both state claims for breach of contract and declaratory judgment

   and a federal claim under 42 U.S.C. § 1983 for a denial of procedural due process of

   law. The City removed based on “federal question” jurisdiction.

         May alleges that his pre-disciplinary hearing was a denial of due process and a

   “sham” because, May asserts, the responsible supervision of the City decided before

   the hearing to terminate him. However, May’s federal due process claim necessarily

   fails (1) because a pre-disciplinary hearing requires only notice of, and an opportunity
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   to respond to, the charges against him, both of which requirements were satisfied by

   May’s pre-disciplinary hearing; (2) because the post-termination “appeal hearing”

   before the Civil Service Board both included a trial de novo in which the City bore the

   burden of proof and superseded any arguable defect in May’s pre-disciplinary

   hearing; and (3) because, after losing the Civil Service Board’s “appeal hearing,”

   May forbore the direct judicial review available under Florida law and, therefore,

   May cannot establish that Florida failed to provide the adequate procedural remedy

   required by federal principles of due process.

                                           *****

         May worked at the Tampa Convention Center as a “Computer Operations and

   Technology Analyst.” On August 5, 2010, several employees, including the Director

   of the Convention Center, noticed that May appeared intoxicated. May’s eyes were

   watery and his breath smelled of alcohol. As required by the City’s rules, May signed

   a consent to an alcohol test, and a person from the City’s Human Resources Office

   transported May to a testing facility. Two tests measured May’s blood alcohol

   content at .185 and .181.

         On August 6, 2010, May underwent a substance abuse evaluation through the

   City’s Employee Assistance Program (“EAP”). May agreed to complete an EAP

   substance abuse recovery program, after which the EAP advised May’s supervisors

   that he was able to return to work pending a second evaluation.




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         Following May’s medical release from the EAP program and in accord with

   Section B28.1C of the City’s “Personnel Manual,” which section is titled “Discipline

   Administration,” the City held a pre-disciplinary hearing. Describing the content of

   a pre-disciplinary hearing, Rule B28.1C states in pertinent part:

             1. Purpose - A pre-disciplinary hearing is provided to all classified,
                non-probationary employees prior to the imposition of a
                suspension, demotion, or dismissal. The hearing provides
                employees the opportunity to refute or clarify the events leading to
                the disciplinary action and fulfills due process requirements.

             2. Scheduling - The Department Director (or designee) must schedule
                a pre-disciplinary hearing upon awareness that a suspension,
                demotion, or dismissal may be imposed as a result of employee
                misconduct or substandard performance.

                a.     Notice of the hearing must be given to the employee in
                       writing at least twenty-four hours prior to the meeting,
                       along with a copy of the Notice of Disciplinary Action. The
                       Notice of Disciplinary Action should be partially completed
                       at this stage, only to include the pending charges, (the
                       decision of what type of disciplinary action will occur will
                       not be made until the hearing is conducted).

             3. Conducting Pre-disciplinary Hearings - At the hearing, the
                department director (or designee):

                a.     Confirms that the employee has received a copy of the
                       charges;

                b.     Explains the charges and the type of disciplinary action
                       being contemplated;

                c.     Provides the employee with an opportunity to offer any
                       contrary evidence, explanation, and/or comments.

             4. Making the Disciplinary Decision.

                a.     After the steps in #3 above have been satisfied, the
                       employee is told to leave the hearing. At this time



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                       management representatives discuss the appropriate
                       action and a decision is made by management.

                b.     The employee is then asked to return to the room and
                       is informed of the decision.

   After hearing the charges and evidence against him, May was given an opportunity at

   the pre-disciplinary hearing to respond to the charges and to explain the results of his

   alcohol tests. Although he apologized for his action, May neither denied nor

   disputed the test results. May stated that his behavior was influenced by medication,

   but May never claimed that the medication interfered with the alcohol tests. In

   accord with the City’s policy permitting termination after an episode of reporting to

   work under the influence of alcohol, the City fired May.

         May appealed his termination to the City’s Civil Service Board. With the

   assistance of counsel, May had the opportunity to present evidence, cross-examine

   witnesses, and explain why he thought his termination was wrongful. On

   January 24, 2011, the Board affirmed May’s termination. May failed to pursue in a

   Florida court the immediately available and direct judicial review of the Board’s

   decision.

                                           *****

   May argues that his pre-disciplinary hearing was a “sham” because the

   decision to fire him was allegedly made in advance of the hearing. As evidence that

   he did not receive a meaningful pre-disciplinary hearing, May relies on emails

   proposing the form for a termination order and on deposition testimony claiming that


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   a supervisor “wanted him gone.” Citing Ryan v. Ill. Dep’t of Children Family Services,

   185 F.3d 751, 762 (7th Cir. 1999), May claims he “could not have challenged the

   inherent bias of the decision makers at any time prior to now since he only learned

   that the pre-disciplinary hearing was a sham in discovery in this case.” (Doc. 24)

          However, Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 542 (1985),

   explains that due process requires “some kind of hearing prior to the discharge of an

   employee who has a constitutionally protected interest in his employment.”

   Loudermill explains that a pre-disciplinary hearing “need not be elaborate,” and that

   “something less than a full evidentiary hearing is sufficient prior to adverse

   administrative action.” 470 U.S. at 545. In sum, in a pre-disciplinary hearing due

   process requires only notice and a chance to be heard; due process does not require a

   spotlessly impartial, full-blown trial.

          Nonetheless, any defect in May’s pre-disciplinary hearing was cured by his

   post-termination review by the City’s Civil Service Board. The Hillsborough County

   Civil Service Board Rules closely conform to the Civil Service Act of 2000, Chapter

   2000-445, Laws of Florida, which requires the establishment of conforming rules.

   The Civil Service Board Rules, along with Chapter 2000-445, present a paradigm of

   due process, which includes, for example, Rule 15.1(d):

             During the appeal hearing, the employee initiating the appeal shall
             have the right to be heard publicly, to present evidence, to cross
             examine, and to be represented by legal counsel, or an individual of
             the employee’s choice, as provided for in 15.1(e).



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   Rule 15.2 of the Civil Service Board Rules provides for a pre-trial notice to the

   employee. The notice, which limits the “subject matter litigated during the ‘appeal

   hearing’”:

             must include the action which is being taken, the factual basis for
             imposing the action, the effective date or dates of the action, and the
             specific Civil Service Rule(s) which the Agency Head claims have been
             violated.

   Rule 15.4 requires that the Civil Service Board “make every reasonable effort” to

   hear the case within “thirty working days.” The Rules provide detailed procedures

   for scheduling and continuing a hearing, for a motion for summary judgment, for

   oral argument on a motion, for issuance and enforcement of subpoenas, for a pre-

   hearing statement and conference (similar to the requirement of the Federal Rules of

   Civil Procedure), for management of exhibits for trial, and for composition of the

   hearing panel. Perhaps the heart of the Rules is the “hearing procedures” provision,

   which will sound familiar to any federal or Florida trial lawyer:

             (1) The Board shall address any preliminary matters including motions
                 in limine, motions to sequester witnesses or other procedural or
                 substantive matters which should be addressed before
                 commencement of the evidence.

             (2) Witnesses shall be identified and sworn.

             (3) Each party may make an opening statement. Opening statements
                 are not evidence and are not designed for argument of the case.
                 Rather, the opening statement provides the parties an opportunity
                 to inform the Board of the facts that the party believes will be
                 shown by the evidence as they relate to the alleged violation(s) of
                 Civil Service Rules(s) or Agency policy(ies) and/or procedures(s).
                 The party bearing the burden of proof shall proceed first.




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             (4) The party bearing the burden of proof shall proceed with its case by
                 calling witnesses and introducing documentary or other evidence.
                 The responding party shall proceed with his or her case. The party
                 bearing the burden of proof, upon cause shown, may be allowed
                 limited rebuttal. Surrebuttal shall not be permitted except when the
                 interests of justice so require.

             (5) Each witness called by any party may be cross-examined by the
                 opposing party. Re-direct examination shall be permitted.
                 Re-cross examination shall be permitted only upon good cause. At
                 the conclusion of examination by the parties, the Board shall have
                 the opportunity to inquire of the witness.

             (6) After the conclusion of the evidence, each party shall have the
                 opportunity to present closing argument. Closing argument is not
                 evidence, but is designed to inform the Board of each party's
                 position as to the facts demonstrated by the evidence and whether
                 or not the alleged violation(s) of Civil Service Rules(s) or Agency
                 policy(ies) and/or procedures(s) have been proven.

             (7) After closing argument, the Board shall conduct its deliberations in
                 open meeting. The Board shall vote separately on each alleged
                 Civil Service Rule violation.

   And, of course, the Rules provide that “the Agency Head or a designated

   representative” bears the burden “to prove its case by a preponderance of the

   evidence,” which is defined to require the Civil Service Board to find “that the facts

   asserted by the Agency Head . . . are more likely true than note the typical burden of

   proof in an employment matter.

         May has not argued that the Board harbored any bias or that the Board’s

   “appeal hearing” was procedurally or otherwise flawed. Even if May’s pre-

   disciplinary hearing included some procedural or other defect, the Civil Service

   Board’s thorough and plenary review – in the form of an “appeal hearing” that

   included a trial de novo – rectified any deficiency in May’s pre-disciplinary hearing.


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         Finally, May’s claim of a denial of procedural due process fails because

   Florida law affords May judicial review by certiorari in Florida’s circuit courts.

   FLA. R. APP. P. 9.030(c)(2); Cambell v. Vetter, 375 So. 2d 4, 5 (Fla. 4th DCA 1979).

   Even if he suffered a deprivation of procedural due process because of a biased

   pre-termination hearing, May failed to exercise his procedural right to judicial review

   in Florida. Because an adequate and available procedural remedy exists under the

   law of Florida, no claim for denial of procedural due process can exist. McKinney, 20

   F.3d 1550, 1563 (11th Cir. 1994) (“[E]ven if McKinney suffered a procedural

   deprivation at the hands of a biased Board at his termination hearing, he has not

   suffered a violation of his procedural due process rights unless and until the State of

   Florida refuses to make available a means to remedy the deprivation.”); Cotton v.

   Jackson, 216 F.3d 1328, 1331 (11th Cir. 2000) (“It is the state’s failure to provide

   adequate procedures to remedy the otherwise procedurally flawed deprivation of a

   protected interest that gives rise to a federal procedural due process claim.”); Autery v.

   Davis, 355 Fed. App’x 253, 255 (11th Cir. 2009) (“In this circuit, state-court review of

   employment termination decisions qualifies as an adequate post-deprivation

   remedy.”); see also Horton v. Bd. of Cnty. Comm’rs of Flagler Cnty., 202 F.3d 1297, 1300

   (11th Cir. 2000) (Carnes, J.) (“The McKinney rule is not micro in its focus, but macro.

   It does not look to the actual involvement of state courts or whether they were asked

   to provide a remedy in the specific case now before the federal court. Instead, the

   McKinney rule looks to the existence of an opportunity – to whether the state courts,

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   if asked, generally would provide an adequate remedy for the procedural deprivation

   the federal court plaintiff claims to have suffered. If state courts would, then there is

   no federal procedural due process violation regardless of whether the plaintiff has

   taken advantage of the state remedy or attempted to do so.”).


                                          CONCLUSION

          The City’s motion for summary judgment (Doc. 17) on May’s procedural due

   process claim under Section 1983 is GRANTED. Under 28 U.S.C. § 1367(c),

   supplemental jurisdiction over May’s state contract claim is DECLINED.* The

   remaining state-law claims are REMANDED.

          The clerk is directed (1) to mail a certified copy of this order to the clerk of the

   circuit court for Hillsborough County, Florida, (2) to terminate any pending motion,

   and (3) to close the case.

          ORDERED in Tampa, Florida, on August 12, 2013.




          *
            May asserts a claim for declaratory relief. To the extent that this claim is derivative of
   May’s due process claim, the City’s motion for summary judgment (Doc. 17) is GRANTED. To the
   extent that this claim is derivative of May’s contract claim, supplemental jurisdiction is declined
   under 28 U.S.C. § 1367(c).

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